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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                                Criminal Action No.
          v.
                                                1:19-CR-184-MHC-JSA
   J IM C. B ECK


                    Government’s Sentencing Memorandum

   The United States of America, by Kurt R. Erskine, Acting United States
Attorney, and Brent Alan Gray and Sekret T. Sneed, Assistant United States
Attorneys, for the Northern District of Georgia, files this memorandum in
anticipation of Defendant Beck’s sentencing hearing scheduled before this Court
on October 12, 2021.

1. Relevant Procedural History

   On July 22, 2021, after an eight-day trial, a jury convicted Beck on Counts One
through Four, Six through Eight, Eleven, Thirteen through Thirty-Three, and
Thirty-Six through Forty-Three, of the forty-three count Superseding Indictment
charged in the above-referenced matter. (Doc. 1). A final Presentence
Investigative Report (PSR) was issued to the parties on September 13, 2021.
According to the PSR, Beck faces a custody guideline range of 108 – 135 months,

a fine guideline range of $30,000 to $5,402,597.32 (per 18 U.S.C. § 3571(d)), and a
special assessment of $3,700. Unresolved guideline issues pertain to PSR ¶¶ 79,
86, 91, 92 & 100, 96, 97, and 101.

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2. The Government’s Position on the Defendant’s Objections to the PSR

   A. Defendant’s Objection to Amount of Restitution (¶ 79)

   The PSR calculates a total restitution amount of $2,865,271.94 to be paid to
two different victims: (1) $2,506,877.94 GUA’s insurer, Cincinnati Insurance
Company, and (2) $358,394 the IRS. Beck objects to the amount owed to
Cincinnati Insurance Company, contending that he should receive offsets for
legitimate work actually provided to GUA by Sonya McKaig, Steve McKaig and
Marjorie Lane over the course of the scheme. Beck also objects to the IRS’s
entitlement to restitution as a victim, essentially contending that Beck’s only
restitution to the IRS should be if the IRS were to impose penalties on him for his
tax fraud. The government recommends that the Court impose restitution on
Beck as to both victims based on the PSR and evidence presented at trial.

      i. Restitution as to Cincinnati Insurance Company
   Beck does not dispute that Cincinnati Insurance Company (Cincinnati) is
entitled to restitution under the Mandatory Victim Restitution Act, 18 U.S.C. §

3663A. Rather, Beck objects to the amount of the restitution, claiming that he is
entitled to offsets for legitimate work performed by persons working for the
entities he directed to be created to carry out his scheme.
   Restitution is “based on the amount of loss actually caused by the defendant’s
conduct.” United States v. Ruan, 966 F.3d 1101, 1174 (11th Cir. 2020). While the
government has the burden to prove a “reasonable estimate” of the loss to the
victim by a preponderance of the evidence, it is ultimately the defendant’s
burden to prove that he is entitled to an offset. See United States v. Bane, 720 F.3d

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818, 828-829 n. 10 (11th Cir. 2013) (“The defendant bears the burden to prove the
value of any . . . goods or services he provided that he claims should not be
included in the restitution amount”). See also United States v. Foster, 878 F.3d
1297, 1308 (11th Cir. 2018).
   Here, the PSR calculates the restitution to Cincinnati as $2,506,877.94, which is
the amount that Cincinnati paid to its insured, GUA. Any offset to this amount,
however, is Beck’s burden to prove. The government notes that, as Beck
accurately detailed in his objections, Sonya McKaig and Steve McKaig each

testified that they performed legitimate work for GUA under their respective
companies, Lucca Lu, LLC and Mitigating Solutions, LLC. Thus, the government
does not dispute that Beck is entitled to an offset for services legitimately
provided to GUA by Lucca Lu and Mitigating Solutions.1 However, Beck’s
contention that “work performed by Marjorie Lane and use of Telemate through
Paperless Solutions” were “legitimate services” that also should be offset from
any restitution order, (PSR, ¶ 79, at p. 19), has no basis in any evidence presented




   1  Based on the testimony of Sonya McKaig and Steve McKaig and other
evidence presented at trial, including monthly itemized invoices from Lucca Lu
to GUA, the government estimates that GUA paid invoices related to Sonya
McKaig’s actual work averaging approximately $2,000-$4,000 per month from
approximately January 2016 to May 2018. Similarly, Steve McKaig’s testimony at
trial established that GUA paid invoice was paid a fee of $3,350 every two
months from approximately November 2016 to June 2018 for his actual work.
Thus, the government believes that an offset would be appropriate in that
monetary range.

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at trial. In fact, the opposite was demonstrated at trial, that is, that Paperless
Solutions never provided any legitimate services to GUA.
   Steve Gradick, the owner of Paperless Solutions, testified at trial that he
created Paperless Solutions at the behest of Beck who falsely told Gradick that
the GUA Board of Directors wanted to donate money to the Georgia Christian
Coalition through a third party. Thus, as Gradick testified and exhibits of
financial records showed at trial, the money GUA paid to Paperless Solutions
flowed from GUA to Gradick and to GA Christian Coalition, which the evidence

at trial showed was a sham company created by Beck. There was no evidence at
trial that Paperless Solutions paid Lane for work she performed for GUA.
Gradick further testified that he never prepared an invoice for Paperless
Solutions and that he had never seen an invoice to GUA for Paperless Solutions
until the government presented the invoices to him during the investigation.
   The government does not dispute that Lane performed work for GUA, but

there was no evidence at trial that these services were paid by Paperless
Solutions or any of the other entities. Moreover, the only reference to Telemate
as some type of service provided to GUA through Paperless Solutions was by

Beck during his self-serving and contradictory testimony on direct examination
and cross-examination, and otherwise not supported by any evidence at trial.
   Because it is Beck’s burden to establish any offset to restitution since a
defendant “is in the best position to know the value of the legitimate goods or
services provided to his victims,” Bane, 720 F.3d at 828-829 (citing United States v.
Bryant, 655 F.3d 232, 254 (3d Cir. 2011)), the government recommends that the

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Court impose restitution consistent with any offset able to be proved by Beck at
sentencing.
      ii. The PSR Correctly Calculates the Amount Owed to the IRS.
   As reflected in the PSR, the tax loss to the IRS is $358,394. (PSR, ¶¶ 24 & 55-
57.) Beck does not dispute the amount, but instead contends that the IRS should
not be considered a victim for purposes of restitution because Beck’s conviction
for tax fraud under 26 U.S.C. § 7206(2) “is a civil matter that is outside the scope
of the criminal case.” Courts have discretionary authority, however, to order

restitution to the victim of an offense as a condition of supervised release,
regardless of whether a defendant was convicted of an offense identified under
the Mandatory Victims Restitution Act. See 18 U.S.C. §§ 3583(d) & 3556. Courts
routinely impose restitution in cases involving tax offenses, including the tax
offense for which that the trial jury convicted Beck. See, e.g., United States v. Jeune,
2021 U.S. App. LEXIS 25102 (11th Cir. Aug. 23, 2021) (imposing restitution in the

amount of the intended tax loss based on convictions for 26 U.S.C. § 7206(2),
among others); United States v. Roberts, 464 Fed. Appx. 796, 802 (11th Cir. 2012)
(imposing restitution in the amount of the tax loss arising from convictions for

violations of 18 U.S.C. § 371 (conspiracy) and 26 U.S.C. 7206(2) (aiding and
assisting the preparation and filing of false personal income tax returns)). Beck
does not cite any case law or authority in his objections for the proposition that
the IRS should not be considered a victim for restitution purposes when a
defendant is convicted of a tax offense.



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   Accordingly, the government recommends that the Court impose restitution
on Beck to the IRS in the amount of $358,394.

   B. Defendant’s Objection to Obstruction of Justice Adjustment (¶ 86)

   After the final PSR was prepared, Beck’s counsel emailed the probation officer
and the government to raise an objection to the U.S.S.G. § 3C1.1 obstruction of
justice enhancement found in ¶ 86 of the PSR. The probation officer found that
the evidence shows that Beck “repeatedly made false statements about the
businesses he utilized to commit this fraudulent scheme and where the GUA
funds went after GUA paid the bogus invoices.” (PSR ¶ 86). Among Beck’s
statements that the probation officer found to be perjurious were these three
outlandish tales: 1) Paperless Solutions was a legitimate business created to

improve GUA’s “e-communication efforts”; 2) over a period of years, Beck paid a
man named Jerry Jordan “hundreds of thousands of dollars” in cash for
legitimate “data mining” work that he performed for the benefit of GUA; and 3)

that Beck kept only ten percent of the GUA money which ended up in his bank
accounts “. . .when in reality, Beck kept almost all the money generated through
the fraudulent invoicing scheme.” (Id.). Although Beck objected to this
enhancement, he did not dispute that a district court has the authority to increase
a sentence when a preponderance of the evidence shows that a defendant
intentionally took an action to obstruct an investigation or a prosecution. The

language of U.S.S.G. § 3C1.1 is clear:




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   “If (1) the defendant willfully obstructed or impeded, or attempted to
   obstruct or impede, the administration of justice with respect to the
   investigation, prosecution, or sentencing of the instant offense of
   conviction, and (2) the obstructive conduct related to (A) the defendant’s
   offense of conviction and any relevant conduct; or (B) a closely related
   offense, increase the offense level by 2 levels.


   While the government supports the probation officer’s application of the two-
level increase as a result of Beck’s false trial testimony, this Court’s analysis of
the application of § 3C1.1 should actually begin at the investigation stage.
During the trial, this Court and the jury heard incriminating evidence in two
telephone calls between Beck and his government-witness cousin, Matthew
Barfield. Beck’s statements made and recorded on December 18 and 19, 2019, are
in many ways inconsistent with his own trial testimony but also offer clear

evidence of his attempts influence Barfield before his FBI interview. (Gov. Dem.
Exs. (transcripts) 483, 485).
   Within minutes of learning for the first time that the FBI was investigating

Green Tech, Beck assured Barfield that there was nothing to worry about because
Green Tech “did inspection work” and “did it for other states.” (Ex. 483-1). He
told Barfield that there was “nothing else” to it. (Id.). Beck went on to tell his
cousin that “probably a dozen or so” people did contract work for Green Tech
and that Lucca Lu was the company’s part-time customer that paid Green Tech
for third-party data. (Id at 3). Then, with similar nonsense, Beck tried to

convince Barfield that Lucca Lu “had to do” things with Green Tech’s data that
“required a specialty in terms of underwriting that, uh, they couldn’t do


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otherwise.” (Id. at 4). Beck then accused the FBI of getting “stuff stirred up”
even though “everybody knows what I did and everybody knows what you did,
so I don’t see what the problem is.” (Id.). Nothing could have been farther from
the truth. The trial evidence clearly showed that no one other than Beck knew
about his scheme or Green Tech’s role in the fraud.
   But perhaps Beck’s most egregious obstruction attempt during this first call
was his advice to Barfield for his meeting the next day with the FBI agents. Beck
urged Barfield to lie to the agents: “. . . I brought you an opportunity to, to, to
work, to gather data and, and, you know, that’s what you kinda were happy to,
you know, to play a part of it and, and, that, you know, that was kinda the deal.”
(Id. at 4). Without a doubt, the trial evidence showed that neither Barfield nor

Green Tech ever gathered any data for anyone and there was no evidence that
Barfield ever wanted to do such a thing.
   Beck’s efforts to obstruct the FBI’s investigation by lying to his own cousin

continued during the next day’s call with Barfield. (Ex. 485). During that call, he
told Barfield that he loved him and that everything was on the up and up. (Id. at
2). He also reassured Barfield that Green Tech had subcontractors doing all the

work that the FBI was asking Barfield about. (Id.). Finally, Beck falsely
suggested to Barfield that the FBI could find all their answers by calling GUA.
(Id.).

   Beck’s recorded statements to Barfield were clearly damaging but at his trial,
during the prosecution stage of this case, Beck’s lies got even more outrageous.
The Supreme Court has defined perjury in this context as “false testimony

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concerning a material matter with the willful intent to provide false testimony,
rather than as result of confusion, mistake, or faulty memory.” United States v.
Dunnigan, 507 U.S. 87, 94 (1993). But despite his false testimony, Beck argues
that this Court must sustain his objection to the § 3C1.1 enhancement because of
this Court’s previous ruling in United States v. Jonathan Greenhill aka Andy
Greenhill, 1:18-CR-00108-MHC. During that sentencing on March 30, 2021, this
Court expressed its understandable concern about enhancing the sentence of a
defendant who chose to testify, “put up [his] story,” and let a jury decide

whether to believe him.2 (Greenhill Doc. 272-39). In considering Greenhill’s
testimony, this Court expressed concern about evaluating a defendant’s trial
testimony that “was not entirely truthful” and having to decide which of a
defendant’s lies had been discredited by the jury. (Id. at 39). Beck also points
out that this Court continued its consideration of Greenhill’s possible obstruction
enhancement by saying that a defendant’s trial testimony must be more than
simply perjurious, the testimony must require the government take additional]
steps in response to the testimony which could include calling a rebuttal witness.
(Greenhill, Doc. 272-39-40). Although the government took no additional trial

steps in response to Beck’s obvious lies, the government respectfully submits that
Beck’s perjury was so obvious and egregious that it cannot be ignored by this
Court and should not have been rebutted by the government. In fact, it is
difficult to imagine that a potential witness exists who could have been called to


   2 Without disclosing details of Greenhill’s PSR here, it is clear that Greenhill’s
testimony was vastly more limited than Beck’s. (Greenhill PSR ¶79).

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rebut Beck’s story. As this Court allowed during the Greenhill sentencing, “a rare
circumstance” may exist which would require that this Court “find that [a
defendant] committed perjury.” (Id. at 42). The government submits Beck’s trial
testimony is just such a circumstance.
   Beck testified directly contrary to the testimony of all the government’s
witnesses and he flatly denied the factual elements that established his guilt of
the offenses charged. But there was so much more. Beck did not simply advance
a different interpretation of the facts. He invented a complicated series of lies in

his desperate effort to escape liability. And, in doing so, he invented Jerry
Jordan.
   Barfield testified to many facts which were contrary to Beck’s trial assertions.
But, perhaps most relevant in this context, was Barfield’s testimony that Beck
told him that 80% of the money that GUA paid to Green Tech would be sent to a
man named Jerry Luquire for work he performed. Barfield produced copies of

ten invoices that he received from Beck that he believed backed up Beck’s story.
Those invoices were admitted as evidence and each showed Luquire had been
the one who was paid by Green Tech. (Gov. Exs. 620, 622, 625, 627, 629, 631, 633,

635, 636, 639). For example, Invoice Number 1, dated February 15, 2003, showed
that Luquire accepted a cash payment of $3,861.00 for providing 132 “Survey
Services.” (Gov. Ex. 620). According to Invoice Number 10, dated December 17,
2013, Luquire was paid $17,283.06 in cash for 182 “Inspections” and 1,524 “Data
Scans.” (Gov. Ex. 639). Although, Barfield testified as to Beck’s statements about
Luquire, he never once mentioned, nor was he questioned about, Jerry Jordan.

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   Gia Browder, GUA’s long-time assistant underwriting director, testified and
named all the GUA employees and contractors who collected data for the GUA
re-inspection program. She did not name Beck or Jerry Jordan. Browder testified
that she would have known if anyone else was sending updated inspection
information to GUA and was confident that there were no other sources.
Browder also testified that, prior to the federal investigation, she had never
heard of Green Tech or seen any inspection data at all from the company.
Additionally, during Browder’s testimony, the government admitted an email

from GUA’s director of underwriting, Brittany McGowan, written to Beck on
September 22, 2016. (Gov. Ex. 554). The email detailed the reinspection program
and its rate of progress. (Id.). It contained no mention that data was being
supplied by Green Tech or any other outside source. The email said nothing at
all about Beck bringing on anyone else to assist with the program. Beck’s reply
to McGowan’s email was “Sounds like a plan.” (Id.). And Jerry Jordan’s name

was never mentioned during any part of Browder’s testimony.
   Jerry Luquire’s son, Brace Luquire, also testified for the government. He
testified to three simple but important facts: 1) his father died in 2014 at the age

of 75; 2) the “Jerry Luquire” handwriting on the Green Tech paid receipts was
not his father’s; and 3) his father had no experience with or interest in property
inspections or data scans. It was only after Brace Luquire testified and the
government rested that Jerry Jordan’s name was first mentioned.
   In addition to flatly and repeatedly denying any criminal wrong-doing, Beck
testified during his trial to the following specific information:

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1) In approximately September 2012, Jerry Luquire, who “never met a
   stranger,” coincidentally met Jerry Jordan, a computer programmer, in a
   restaurant when another person called out the name “Jerry.” And that very
   day, or the next, Luquire was “so excited” that he called Beck to tell him
   about Jordan and Jordan’s ability to help Beck with his data mining plan.
2) Beck did not know the whereabouts of Jordan but, in the two years
   between his indictment and the trial, Beck tried unsuccessfully to locate
   him.

3) Jordan almost immediately began working for Beck but insisted that he
   must paid in cash. For the next five years, the vast majority (60-80%) of the
   payments that Beck secretly received from GUA through Green Tech and
   Creative Consultants were actually paid to Jordan from Beck’s hoard of
   cash.
4) Jordan had a “team” of people working on Beck’s data mining project. But

   during the two years between his indictment and trial, Beck was unable to
   locate any of Jordan’s team members.
5) Beck knew of no one who could explain Jordan’s “scrubbing” software or

   Jordan’s ability to “bump up against” the GUA computer system.
6) Beck was unable to identify any of the GUA temporary workers who
   assisted Jordan and his team in their efforts to help with GUA’s
   reinspection program.
7) Beck was unable to identify or produce a single example of Jordan’s “data
   mining” software or any specific result from the use of Jordan’s software.

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8) Despite responding to a federal grand jury with thousands of documents
   from Creative Consultants and GA Christian Coalition, Beck admitted that
   the name “Jerry Jordan” was never mentioned in any of the documents.
9) Within a month of his first contact with Jordan, Beck and Jordan decided
   to test Jordan’s new “robust scrubbing program.” They tested the
   program on real estate properties in Fulton and Dekalb counties but he
   had no proof of such tests.
10) Beck consulted with Cody Locklear about developing a scrubbing program

   before he met Jordan. Locklear, however, never mentioned anything
   about such a program during any part of his trial testimony.
11) Beck did not know if Jordan’s program had a name because they just
   referred to it as “the Green Tech program.”
12) During the course of his work with Jordan, Beck and Jerry Luquire (who
   Beck testified could not turn on a computer) met Jordan in a restaurant in

   LaGrange, Georgia. There, Jordan gave Beck a laptop which Jordan
   instructed could not be “used on any other network” in order to avoid
   malware.

13) Beck used a “flash drive” and Jordan’s laptop to upload GUA customer
   information. Jordan then uploaded “return product” that Beck would
   “pull down” from a shared file server.
14) Beck had no proof of the existence of the laptop, flash drive, or Jordan’s file
   server because it was “eight years ago.”



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15) Jordan told Beck that his software business was incorporated and that it
   was named G-A-A-L (hesitantly spelled out rather than pronounced by
   Beck from the witness stand) and Beck was unsure whether the
   corporation was called GAAL Solutions or GAAL Services.
16) Beck tried unsuccessfully to locate Jordan’s corporation by searching the
   secretary of state records for both Georgia and Alabama. He also looked
   for the corporation in Colorado and Utah.
17) Beck last heard from Jordan around Christmas, 2017. Jordan told Beck he

   was heading “out west” after meeting a woman online who was from Salt
   Lake City.
18) Beck never received a business card or any paper correspondence from
   Jordan and could not produce a single email either to or from Jordan.
19) Beck never had any intention of telling anyone at GUA about his
   connection to Green Tech because to do so would have been meaningless.

20) Beck insisted that he told GUA Chairman John Houser that he had a
   personal financial interest in a GUA vendor that increased the revenue at
   GUA by more than $2 million. Houser testified that Beck never told him

   any such thing.
21) Although Beck had a financial interest in one of GUA’s significant
   vendors, he denied any knowledge of a related-party transaction during a
   corporate audit only because he did not understand the auditor’s question.
22) Beck never explained his connection with Green Tech to Sonya McKaig
   because he believed it was “not relevant.”

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   23) Beck admitted that during Green Tech’s first year of operation in 2013, the
      company paid him more than $108,000. Beck paid 80% of that amount
      ($86,400) in cash to Jordan but had no documentation of any of those
      payments.
   24) Beck claimed no business expense on his 2013 Creative Consultant
      Schedule C that correlated to the alleged $86,400 payment to Jordan. But
      Beck explained that a $10,760 advertising expense was “mostly”
      attributable to part of Jordan’s earnings and claimed car and management

      expenses also helped account for his payment to Jordan.
   25) Beck admitted that there was nothing on any of his federal tax returns to
      show that he ever paid Jordan anything. Further, Beck testified that in
      2013 he, dba Creative Consultants, paid more than $59,000 in taxes but
      intentionally did not deduct approximately $30,000 in payments to Jordan.
   26) After Beck admitted that he intentionally misrepresented himself as

      Barfield in emails, he repeatedly said that the emails were “not fraudulent”
      and that he was not pretending to be Barfield. Beck also testified that he
      was “amazed” that the emails would be a subject of cross-examination.

   This list of lies is by no means an exhaustive one. Over the course of two
days, Beck’s trial testimony was extraordinarily perjurious and more than
deserving of an obstruction enhancement. In fact, it would probably be easier for
the government and this Court to list his truthful statements. The Eleventh
Circuit has held that when a district court finds that a defendant’s testimony
amounts to “a concoction,” it supports a finding that “the defendant intended to

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testify falsely, without confusion, about material matters” and merits the two-
level enhancement of § 3C1.1. United States v. Lewis, 115 F.3d 1531, 1538 (11th
Cir. 1997). In 2003, the Eleventh Circuit considered a Northern District of
Georgia wire fraud conviction and the district court’s refusal to apply a § 3C1.1
enhancement after evidence showed that the two defendants testified falsely
during their trial. United States v. Poirier, 321 F.3d 1024, 1035-36 (11th Cir 2003).
In remanding the case for resentencing, the appellate court ordered the district
court to apply the obstruction enhancement after it found that the record showed

the defendant “provided false testimony at trial and stubbornly maintained his
incredible testimony that the money he received was for legitimate, unrelated
consulting engagements.” (Id. at 1036). The Eleventh Circuit continued by
saying: “We are left with the definite and firm conviction that the sentencing
court should have applied the enhancement for obstruction of justice to the
defendants. Its inexplicable finding that the defendants did not obstruct justice is

clearly erroneous, and must be corrected on remand.” In United States v. Geffrard,
87 F.3d 448, 453 (11th Cir. 1998), the Eleventh Circuit upheld the application of an
obstruction enhancement after holding that the defendant’s “denials, poor

recollection, and false testimony [] in light of all the credible evidence to the
contrary easily justified the perjury findings of the district judge.” According to
Geffrard, the defendant earned the enhancement because one of the important
claims to his defense was “shown to be transparently false.” (Id. at 453). See also
United States v. Morales De Carty, 300 F.App’x 820, 831032 (11th Cir. 2008)
(obstruction enhancement warranted where the defendant’s testimony was

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inconsistent with the jury’s verdict and was contradicted by other trial evidence);
United States v. Johnson, 302 F3d 139, 154 (2d Cir. 2002) (obstruction enhancement
warranted “[b]ecause several positions of Johnson’s sworn testimony at trial
were irreconcilably inconsistent with the jury’s verdict.”). When this Court
considers the totality of Beck’s testimony, it is hard to imagine a scenario where a
defendant’s testimony could be more stubbornly incredible or transparently
false. Throughout his testimony, there were constant examples of false
statements but it is sufficient, and perhaps even more appropriate here, for this

Court to make a general finding that the whole of Beck’s testimony encompassed
all the factual predicates of perjury. United States v. Diaz, 190 F.3d 1247, 1256
(11th Cir. 1999) (citing United States v. Arguedas, 86 F.3d 1054, 1059 (11th Cir. 1996)
and Dunnigan at 94.

   C. Defendant’s Objection to Abuse of Trust Adjustment (¶ 91)

   Pursuant to U.S.S.G. § 3B1.3, the probation officer added two levels to Beck’s

adjusted offense level for his conviction on money laundering. (PSR ¶ 91). She
points out that Beck’s position “as General Manager of Operations at GUA
allowed Beck to continue and conceal the money laundering scheme.” Beck
argues that the probation officer used the same conduct for this adjustment as
she used for the abuse of trust adjustment for the wire and mail fraud counts
(PSR ¶ 85) and that it is inapplicable to the money laundering accounts.

   The probation officer correctly added this abuse of trust adjustment to Beck’s
offense level for his money laundering convictions. Under federal law, the
offense of money laundering necessarily requires that a defendant have been

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personally involved in a monetary transaction. The statute defines a monetary
transaction to include a bank deposit. 18 U.S.C. 1957(f)(1). Among the acts of
money laundering for which Beck was convicted, was his deposit on February 1,
2016 of a GUA check for $24,928.60 into the Green Tech bank account at United
Community Bank. (Doc. 22, Count 26). At trial, evidence clearly showed that
Beck, acting in his capacity as general manager of GUA, routinely instructed that
GUA checks to Green Tech be delivered to the company’s front desk rather than
placed in the mail as would otherwise have been the routine. Evidence further

showed that Beck would pick up those GUA checks and then personally deposit
them into the Green Tech bank account. It was only by virtue of his position at
GUA that Beck was able to manipulate GUA’s normal bill-paying routine.
   Further, Beck was convicted of personally depositing two Lucca Lu checks,
both for $28,700.00, into the Green Tech bank account on July 19, 2016 and
December 20, 2016 and doing the same with two Mitigating Solutions checks,

both for $33,500.00, on December 8, 2016 and August 22, 2017. (Id., Counts 29,
32, 33, and 34). Again, Beck was only in possession of these checks because of his
position at GUA. At trial, Sonya McKaig testified that, pursuant to Beck’s

instructions, she sent the Lucca Lu to Green Tech checks via overnight mail to
Beck at his GUA address. (See Gov. Ex. 551). According Sonya McKaig, Beck
told her to send the checks to his assistant but to mark the envelope containing
the Green Tech check as “personal and confidential.” Sonya McKaig also
testified that she believed that she was sending those checks to Beck because he



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was “a hands-on manager” who wanted to make sure the payment got to Green
Tech as soon as possible.
   Similarly, Steve McKaig testified that Beck told him that Mitigating Solutions
was paying Green Tech for reinsurance premiums and that he should always
send those checks via FedEx to Beck’s attention at GUA and in care of Beck’s
secretary. In these instances of money laundering, the evidence shows that Beck
abused his fiduciary position of trust at GUA in order to obtain the fraudulent
checks and personally deposit the funds.

   D. Defendant’s Objection to Obstruction of Justice Adjustment (¶¶ 92 &
      100)

   Although Beck will likely make his previous Greenhill argument to support
these objections, he originally objected here for different reasons. In his objection

to ¶ 92, Beck argued that this enhancement should be removed because the PSR
had already “. . . considered the defendant’s obstruction of justice as it relates to
the underlying scheme [presumably, wire fraud and mail fraud] but not the

money laundering offense.” (PSR ¶ 92). Similarly, in his objection to ¶ 100, Beck
argued that the probation officer used Beck’s false testimony about the wire
fraud and mail fraud counts to apply the obstruction to the tax counts. (PSR ¶
100).
   It is abundantly clear that Beck’s insistence that GUA was spending millions
of dollars for legitimate services provided through Green Tech, Lucca Lu,

Mitigating Solutions, and Paperless Solutions was just a ridiculous story. And
like his attempts to explain away the wire fraud and mail fraud allegations, Beck

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lied about his money laundering and tax fraud, too. For example, on direct
examination Beck explained that he shipped GUA checks to Sonya McKaig in
response to her sending GUA an “aggregate” invoice which included legitimate
charges for services provided by Green Tech and Lucca Lu. Beck sent GUA
checks to Sonya McKaig so she would, in turn, “cut a check to Green Tech” and
ship it to him at GUA. According to Beck, it was those Green Tech checks that he
would deposit into Barfield’s account at United Community Bank (charged as
money laundering in Counts 29 and 33). As part of that explanation, Beck told

the jury that he always wanted to personally inspect the checks to have “another
opportunity to verify the lift” and justify the expenses to GUA.
   In defending the tax fraud allegations, Beck went beyond his contorted
explanation of his 2013 tax return. On direct examination, Beck testified that: 1)
although he was unable to produce any receipts for the business expenses that he
claimed, Beck “certainly had them” when his taxes were prepared; 2) Beck’s tax

preparer, Clifford Entrekin, erroneously described the legitimate deductions that
Beck was due; 3) a $30,000 phone expense was inaccurate as entered by Entrekin
because the correct expense amount had been on a line “right or above or below”

on a spreadsheet; and 4) there was nothing intentionally inaccurate on any of his
subject tax returns.

   E. Defendant’s Objection to Pattern/Scheme Substantial Income
      Adjustment (¶ 96)

   The PSR correctly added two levels to the base offense level for Group C, tax
conduct, under U.S.S.G. § 2T1.4(b)(1)(A) because the offense was committed “as

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part of a pattern or scheme from which he derived a substantial portion of his
income.” (PSR ¶ 96.) Beck objects on the grounds that this enhancement should
be limited to situations where a defendant –in Beck’s view, a tax preparer--
derives a substantial portion of income from a “a tax fraud scheme.” There are
no such limitations noted in the Sentencing Guidelines. As the PSR correctly
notes, the pattern and scheme at issue is the overall fraud that generated the
massive amount of income, which Beck then deducted through creative and
fictitious business expenses, leading to the tax loss. The pattern and scheme

must necessarily encompass how Beck came to possess such income because
without Beck’s scheme to steal money from his employer, Beck would not have
had such massive income to deduct in the first place. To only hold Beck
accountable for his “scheme” to falsely state his business deductions would
obviate any need for language referencing a “pattern or scheme” since the
guideline would just reference the “offense conduct” as in other sections of the

guidelines, such as U.S.S.G. §§ 2B1.1 or 2K2.1. Beck points to the Application
Note’s use of the example of “promoting fraudulent tax shelters,” but the
Application Note also does not express that this is the only possible example that

would qualify under this enhancement.
   Given that the pattern or scheme should apply to the entirety of Beck’s
conduct, it cannot be reasonably disputed that Beck derived a substantial portion
of his income from this pattern or scheme. As the government showed at trial,
through the testimony of FBI Special Agent Ashley Tucker and Barfield and
various exhibits, including copies of checks and bank statements, over a five year

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period, Beck diverted over $2 million through his fictitious entities, Creative
Consultants and GA Christian Coalition, as well as hundreds of thousands of
dollars of cash withdrawn from Green Tech’s bank account, while his legitimate
earnings were approximately $120,000 to $200,000 per year as the General
Manager of GUA from 2012 through 2019, (PSR, ¶ 139), as well as some rental
income. (PSR, at p. 34.)
   Beck ultimately bases his objection to this enhancement on his
characterization of 26 U.S.C. § 7206(2) as a statute that should only be used to

prosecute tax preparers. In other words, Beck advances the same argument that
this court rejected in denying the motion for acquittal. Despite Beck’s insistence
that 26 U.S.C. § 7206(2) should only apply to tax preparers, other courts have
upheld convictions of non-tax preparers like Beck, who aided and assisted in the
filing of false and fraudulent tax returns. See, e.g., United States v. Donaldson, 767
Fed. Appx. 903 (11th Cir. 2019) (affirming 26 U.S.C. § 7206(2) conviction where
defendants created, marketed and administered fraudulent tax shelter that led to
the filing of materially false tax returns by others ); United States v. Miller, No. 14-
1122, 595 Fed. Appx. 166 (3d Cir. 2014) (affirming 26 U.S.C. § 7206(2) conviction

where defendant, a CEO of a hospital, gave false information regarding his
income to his tax preparer); United States v. Bennallack, No. 95-10532, 1996 U.S.
App. LEXIS 33697 (9th Cir. Dec. 27, 1996) (upholding 26 U.S.C. § 7206(2)
conviction where defendant paid employees in cash which he knew would result
in false reporting on their taxes). Accordingly, the PSR correctly applied the two-
level enhancement to Beck’s tax conduct under U.S.S.G. § 2T1.4(b)(1)(A).

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   F. Defendant’s Objection to Sophisticated Means Adjustment (¶ 97)

   The probation officer determined that Beck used sophisticated means to
commit tax fraud which resulted in a two-level enhancement pursuant to U.S.S.G
§2T1.4(b)(2). Beck objected by calling his tax fraud “basic and elemental” and
“not especially complex or especially intricate offense conduct pertaining to the
execution or concealment of the offense.”3 (PSR ¶ 97). The government agrees
with the probation officer’s position and her conclusion that Beck, over a four-

year period, intentionally and very specifically overstated his total business
expenses by more than a million dollars. (PSR ¶ 55).
   Beck’s certified federal tax returns for 2014, 2015, 2016, and 2017 were
admitted as evidence at trial. (Gov. Exhs. 290-293). Each return included a
detailed Schedule C for his sham entities, Creative Consultants and GA Christian
Coalition. (Id.). On each Schedule C for Creative Consultants, Beck reported the
income he fraudulently received from Green Tech. (Id.). On each Schedule C for
GA Christian Coalition, Beck reported the income he fraudulently received from
Paperless Solutions. (Id.). But, in each instance, to offset the bogus income he

reported, Beck created an elaborate list of fake business expenses. For example,
in 2014, the first year that Beck reported the income that he stole from GUA, he
deducted the following expenses for Creative Consultants: 1) $6,459 for
advertising; 2) $2,758 for contract labor; 3) $18,073 for outside services; 4) $3,210

   3 Beck’s objection includes the following statement: “Mr. Beck deducted
expenses on his tax returns without receipts to support those expenses.” That
statement contradicts Beck’s trial testimony. Beck told the jury that he
“certainly” had expense receipts when his taxes were prepared.

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for printing; 5) $176 for publications; 6) $1,229 for telephone; and 7) $2,870 for
internet fees. (Gov. Exh. 290-50-53). This pattern of deceit continued and grew
substantially over the next several years. As the amount of stolen income
increased, so did Beck’s business expenses.4 By 2017, Beck’s reported income for
Creative Consultants, all of which came from GUA via Green Tech, was $ 482,220

offset by $208,841 in deducted expenses. (Gov. Ex. 293-62, 65). Those 2017
business expenses included: 1) $11,367 for advertising; 2) $5,346 for depreciation;
3) $1,750 for legal and professional services; 4) $33,141 for outside services; 5)
$20,982 for clerical fees; 6) $19,426 for fuel; 7) $18,992 for web hosting fees; 8)
$14,673 for printing; 9) $7,088 for telephone; 10) $2,558 for marketing; 11) $2,010
for publications; 12) $702 for bank charges; 13) $679 for security fees; and 13) $42
for postage. (Id.).
   The totality of Beck’s tax fraud scheme merits the sophisticated means
enhancement because, like the wire and mail fraud schemes he used to steal from

GUA, Beck’s efforts to cheat the IRS were long-standing and full of detail. The
Eleventh Circuit has repeatedly held that in order to determine whether the
sophisticated means enhancement is applicable, a district court must look to a
defendant’s “conduct as a whole, not. . . each individual step,” United States v.
Feaster, 798 F.3d 1374, 1380 (11th Cir. 2015) (quoting United States v. Moran, 778
F.3d 942, 977 (11th Cir. 2015)), to determine whether the “totality of the

   4In 2015, Beck reported Creative Consultants’ income as $308,472 and claimed
fraudulent itemized business expenses of $150,301. (Gov. Ex. 291-57). In 2016,
Creative Consultants’ income increased to $543,190 which was reduced by
itemized business expenses of $200,203. (Gov. Ex. 292-74).

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[conduct]” sufficiently supports the application of the enhancement. Id. quoting
United States v. Ghertler, 605 F.3d 1256, 1268 (11th Cir. 2010). See also United States
v. Barrington, 648 F.3d 1178, 1199 (11th Cir. 2011) (“Each action by a defendant
need not be sophisticated in order to support this enhancement.”); Moran, 778
F.3d at at 977 (affirming imposition of sophisticated-means enhancement where
defendants used widespread kickbacks and the falsification of group-therapy
notes in committing healthcare fraud, even though the defendants did not
employ any methods cited in the Application Note).

   In Ghertler, the Eleventh Circuit considered conduct which involved a wire
fraud scheme in which the defendant impersonated corporate officials to
convince the victim companies to send money to him and to a third-party.
Ghertler at 1260. Despite Ghertler’s protest that his offenses were not sufficiently
complex or intricate, the district court applied a sophisticated means
enhancement. The Ghertler panel affirmed the enhancement holding that “[t]here

is no requirement that each of the defendant’s individual actions be sophisticated
in order to impose the enhancement. Rather, it is sufficient if the totality of the
scheme was sophisticated.” The Court based its opinion, in part, on the fact that

the defendant carried out his scheme over 18 months, which the Court called “an
extended period of time.” Id. at 1268.
   Here, Beck’s tax fraud scheme continued for at least four years and involved
two separate financial entities, four separate tax returns, eight separate Schedule
C forms, and 79 distinct and fraudulent claims of business expenses. The totality
of this tax fraud has earned a sophisticated means enhancement.

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   G. Defendant’s Objection to Multiple Count Adjustment (¶ 101)

   The probation officer found that the fraud and tax offenses do not group
under U.S.S.G. § 3D1.2(d) because the fraud and tax counts represent different
harm and different victims. (PSR ¶ 101). Beck objected and made two
arguments. (Id.) First, Beck argued that under U.S.S.G § 3D2.1(d), § 2T1.4
groups together with § 2B1.1. (Id.). Alternatively, Beck argued that even if the
tax counts do not group with the other counts, when the guideline is properly

calculated, the tax counts (Group C) are nine levels below Groups A and B
resulting in a total units number of 1.0 which would not add to his offense level.
(Id.).

   The government agrees with the probation officer’s position that Beck’s tax
convictions do not group with his wire and mail fraud convictions. U.S.S.G. §
3D1.2 controls the grouping of closely related counts. The section provides that
only counts involving substantially the same harm may be grouped together.
None of the circumstances set out in § 3D1.2 provide for grouping the tax fraud
convictions with Beck’s other fraud convictions. The evidence produced at trial
clearly shows his efforts to defraud the IRS not only involved a different victim
but an altogether different harm brought about by a separate set of unrelated
transactions. See United States v. Register, 678 F.3d 1262, 1266 (11th Cir. 2012).

   In reviewing a case from the Northern District of Georgia, the Eleventh
Circuit addressed an argument remarkably similar to Beck’s. United States v.
Doxie, 813 F.3d 1340 (11th Cir. 2016). In Doxie, the defendant pleaded guilty to 21

counts of mail fraud, 41 counts of wire fraud and four counts of filing a false tax


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return. Id. On appeal, Doxie argued that his sentence was procedurally
unreasonable because the district court refused to group the wire and mail fraud
counts with his four tax convictions. Id. at 1342-43. The Court determined that
the district judge properly refused to group the counts noting that the majority of
circuits to address this issue had concluded that fraud counts and tax offense
counts involving the proceeds of the fraud should not be group together under §
3D1.1. Id. at 1345. The Court’s conclusion perfectly applies to Beck’s situation. If
this Court were to group all of Beck’s tax convictions with his other fraud

convictions, “there would [be] no additional punishment” for Beck’s tax crimes
so “the only way to achieve the stated goals of providing incremental
punishment for additional crimes while preventing double counting for
substantially the same conduct is to refuse to group the tax counts with the wire
and mail fraud counts.” Id. at 1347.
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3. Government’s Sentencing Recommendation

   Based on the preceding arguments in support of the probation officer’s
guidelines calculations, the factual findings of the PSR, and the sentencing
factors set forth in 18 U.S.C. § 3553(a), the government recommends that
Defendant Beck be incarcerated for a term of 120 months.



                                         Respectfully submitted,

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October 5, 2021

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